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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11   Balmore Prudencio and Michelle Quintero, Case No. 2:18-cv-01469-AB-RAO
     individually on behalf of themselves and
12   all others similarly situated, and John Does
     (1-100) on behalf of themselves and all
13   others similarly situated,                   [PROPOSED] FINAL JUDGMENT
                                                  IN FAVOR OF DEFENDANTS
14                 Plaintiffs,                    MIDWAY IMPORTING, INC. AND
                                                  GRISI USA, LLC
15          vs.
16   Midway Importing, Inc. and Grisi USA,
     LLC
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                 Defendants.
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                 FINAL JUDGMENT IN FAVOR OF DEFENDANTS MIDWAY IMPORTING, INC.
     238292157
                                      AND GRISI USA, LLC
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1          Defendants Grisi USA, LLC and Midway Importing, Inc. (collectively
2    “Defendants”) Motion to Dismiss Second Amended Class Action Complaint (the
3    “Motion”) came on for hearing on December 14, 2018 at 8:00 am in Courtroom 7B of
4    the above-entitled Court, the Honorable André Birotte Jr. presiding. On December 19,
5    2018, after full consideration of the Motion and arguments of counsel, the Court
6    granted Defendants’ Motion and dismissed the Second Amended Class Action
7    Complaint with prejudice.
8          Accordingly, IT IS HEREBY ORDERED that Final Judgment be entered in
9    favor of Defendants.
10         IT IS SO ORDERED.
11
12   Dated: January 08, 2019                      ____________________________
                                                     Honorable André Birotte Jr.
13
                                                     United States District Judge
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                 FINAL JUDGMENT IN FAVOR OF DEFENDANTS MIDWAY IMPORTING, INC.
                                       AND GRISI USA, LLC
